MANDATE
    Case 1:12-cv-05528-JFB-AKT Document 144 Filed 06/29/18 Page 1 of 2 PageID #: 2271



      16-3550-cv
      NSI Int’l v. Mustafa

                                         UNITED STATES COURT OF APPEALS
                                            FOR THE SECOND CIRCUIT

                                               SUMMARY ORDER
      Rulings by summary order do not have precedential effect. Citation to a summary order filed
      on or after January 1, 2007, is permitted and is governed by Federal Rule of Appellate
      Procedure 32.1 and this Court’s Local Rule 32.1.1. When citing a summary order in a
      document filed with this Court, a party must cite either the Federal Appendix or an
      electronic database (with the notation “summary order”). A party citing a summary order
      must serve a copy of it on any party not represented by counsel.

             At a stated term of the United States Court of Appeals for the Second Circuit, held at
      the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York,
      on the 8th day of June, two thousand eighteen.

      PRESENT:               JON O. NEWMAN,
                             JOSÉ A. CABRANES,
                             SUSAN L. CARNEY,
                                          Circuit Judges.


      NSI INTERNATIONAL, INC.,

                                    Plaintiff-Appellee,

                                    v.                                     16-3550-cv

      MONA MUSTAFA,

                                    Defendant-Appellant.


      FOR PLAINTIFF-APPELLEE:                                   Jamie S. Felsen, Milman Labuda Law
                                                                Group, PLLC, Lake Success, NY.

      FOR DEFENDANT-APPELLANT:                                  Mona Mustafa, pro se, Lindenhurst, IL.

             Appeal from a judgment awarding attorney’s fees of the United States District Court for the
      Eastern District of New York (Joseph F. Bianco, Judge).

              UPON DUE CONSIDERATION WHEREOF, IT IS HEREBY ORDERED,
      ADJUDGED, AND DECREED that the District Court’s September 14, 2016 judgment awarding
      attorney’s fees be and hereby is AFFIRMED.

                                                            1

MANDATE ISSUED ON 06/29/2018
Case 1:12-cv-05528-JFB-AKT Document 144 Filed 06/29/18 Page 2 of 2 PageID #: 2272



          Defendant-appellant Mona Mustafa, proceeding pro se, appeals from a September 14, 2016
  judgment awarding attorney’s fees in favor of plaintiff-appellee NSI International, Inc. We assume
  the parties’ familiarity with the underlying facts, the procedural history of the case, and the issues on
  appeal.

          Mustafa has waived any argument against the fee award by failing to challenge the award in
  her brief on appeal. Cf. Harrison v. Republic of Sudan, 838 F.3d 86, 96 (2d Cir. 2016) (“It is a well-
  established general rule that an appellate court will not consider an issue raised for the first time on
  appeal.” (internal quotation marks and alteration omitted)); LoSacco v. City of Middletown, 71 F.3d 88,
  92–93 (2d Cir. 1995) (holding that pro se litigant waived issues not raised in brief). In any event, we
  find no abuse of discretion in the District Court’s award of attorney’s fees. See Barfield v. New York
  City Health and Hosps. Corp., 537 F.3d 132, 151 (2d Cir. 2008) (noting that we afford “considerable
  discretion” to district courts in setting attorney’s fees).

          Any challenge to our 2015 decision affirming the underlying judgment is not properly before
  us, and the law of the case doctrine precludes us from revisiting the decision absent a compelling
  reason to do so. See Starbucks Corp. v. Wolfe’s Borough Coffee, Inc., 736 F.3d 198, 208 (2d Cir. 2013).

           We have reviewed all of the arguments raised by Mustafa on appeal and find them to be
  without merit. Accordingly, we AFFIRM the District Court’s judgment awarding attorney’s fees.
  We GRANT Mustafa’s motion to accept the appendix and DENY her motions to compel and for
  judicial notice. The text orders she requests are just that, text. There are no separate documents. The
  documents she cites as missing from our docket are internal docket entries, which do not have
  corresponding documents. We DENY NSI International, Inc.’s motion for sanctions, but hereby
  warn Mustafa that any future frivolous or vexatious appeals, motions, or other filings may result in
  sanctions, including imposition of a leave-to-file sanction that would require her to seek permission
  to file an appeal, motion, or other papers in this Court. See Sassower v. Sansverie, 885 F.2d 9, 11 (2d
  Cir. 1989).


                                                           FOR THE COURT:
                                                           Catherine O’Hagan Wolfe, Clerk




                                                      2
